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                 ORAL ARGUMENT NOT YET SCHEDULED

          IN THE UNITED STATES COURT OF APPEALS
           FOR THE DISTRICT OF COLUMBIA CIRCUIT


RADIO COMMUNICATIONS CORPORATION,
      Petitioner,

            v.
                                                  No. 24-1004
FEDERAL COMMUNICATIONS COMMISSION
and UNITED STATES OF AMERICA,
      Respondents.


                    On Petition for Review of an Order of
                  the Federal Communications Commission


RESPONDENT FEDERAL COMMUNICATIONS COMMISSION’S
    OPPOSITION TO EMERGENCY MOTION FOR STAY,
    EXPEDITED REVIEW, AND SUMMARY REVERSAL


                            INTRODUCTION

      Petitioner Radio Communications Corporation (RCC) challenges

Federal Communications Commission rules implementing the Low

Power Protection Act that, RCC contends, prevent it from upgrading to

Class A status its low power television station in Allingtown,

Connecticut, a suburban neighborhood in West Haven.

      In doing so, RCC asks this Court for three kinds of extraordinary

relief.   None is warranted.     RCC is not entitled to a stay of the
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Commission’s rules from this Court because it failed to seek one before

the Commission. RCC likewise has failed to establish the substantial

showings necessary for summary reversal and expedited review. RCC

has no reasonable chance to prevail on the merits—let alone to clear the

high bar necessary for extraordinary relief at this stage—because the

Commission in this matter did nothing more than follow the clear

commands of the statute. RCC’s motion should be denied.

                            BACKGROUND

     A.    Statutory And Regulatory Background

           1.    Low Power Television Service And Class A
                 Licenses

     The Commission began licensing low power television stations in

1982 to extend TV service to otherwise unserved or underserved areas.

Low Power Television Service, Report and Order, 51 R.R.2d 476 (1982),

recon. granted in part, 48 Fed. Reg. 21478 (1983). Low power stations

have lower authorized power levels and serve smaller geographic regions

than full power stations. Implementation of the Low Power Prot. Act,

FCC 23-112, 2023 WL 8646731, at *1 (Dec. 12, 2023) (“Order”). From its

inception, low power television service has been restricted to “secondary”

priority, meaning that low power stations “may not cause interference to,

and must accept interference from, full power stations.” Id.

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     In 1999, Congress directed the Commission to create a new set of

“Class A” television licenses that would provide some eligible low power

stations with a degree of protection from interference from full power

stations if they could meet specified statutory criteria and if they applied

within a set timeframe. See Community Broadcasters Protection Act of

1999, Pub. L. 106-113, 113 Stat. 1501 (Nov. 29, 1999); Establishment of

a Class A Television Service, Report and Order, 15 FCC Rcd 6355 (2000),

recon. granted in part, 16 FCC Rcd 8244 (2001). At Congress’s direction,

the Commission issued these Class A licenses for a limited time and only

to those stations that met the specified statutory requirements. Id.

           2.    The Low Power Protection Act

     Last year, Congress enacted the Low Power Protection Act. Pub. L.

117-344, 136 Stat. 6193 (January 5, 2023). Like the Community

Broadcasters Protection Act before it, the Low Power Protection Act

provides low power TV stations with another limited window of

opportunity to apply for Class A status. And once again, Congress set

specific eligibility criteria for low power stations seeking Class A

designation.    Among other things, the Low Power Protection Act

authorizes the Commission to approve applications only from stations

that, “as of the date of enactment of this Act, operate[] in a Designated


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Market Area with not more than 95,000 television households.” LPPA

§ 2(c)(2)(B)(iii).

      The statute defines “Designated Market Area” as either “(A) a

Designated Market Area determined by Nielsen Media Research or any

successor entity; or (B) a Designated Market Area under a system of

dividing television broadcast station licensees into local markets using a

system that the Commission determines is equivalent to the system

established by Nielsen Media Research.” LPPA § 1(a)(2).

             3.      The Commission’s Implementing Rules

      Consistent with Congress’s instructions, the Commission adopted

rules to open a new window for low power television stations to apply for

Class A status. See Order.

      As relevant here, the Commission chose to use Nielsen’s Local TV

Report—a collection of data on local television markets—for determining

a station’s “Designated Market Area” for purposes of the Low Power

Protection Act’s eligibility criteria.    Id. ¶ 35.   First, the Commission

reasoned, using Nielsen’s Local TV Report was consistent with the

statute, which expressly contemplates the use of Nielsen data for

demarcating TV market areas. Id. Second, the use of the Local TV

Report was consistent with past agency practice—a previous Commission


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order had used Nielsen’s Local TV Report to define the term “local

market” for the purposes of other statutory provisions and agency rules.

Id. (citing Update to Publication for Television Broadcast DMA

Determination for Cable and Satellite Penetration, Report and Order, 37

FCC Rcd 13886 (2022)). Third, the Commission noted, commenters had

unanimously supported using Nielsen’s Local TV Report in a previous

proceeding, where “the record indicated that the Local TV Report was the

sole source of information regarding [Designated Market Area]

determinations.” Id.

       While other commenters in the Low Power Protection Act

proceeding supported the use of the Nielsen Local TV Report, RCC did

not.   Instead, RCC argued that relying on Nielsen data would be

“nonsensical” because 177 of the 210 Designated Market Areas in

Nielsen’s report had more than 95,000 TV households—and thus would

be ineligible for Class A status under the statute. RCC Comments at 1,

6 (Attach. 3 to Motion). According to RCC, using Nielsen’s data would

exclude too many stations. Id. The Commission considered and rejected

this argument because “Congress clearly intended that eligibility under

the [Low Power Protection Act] be limited, as the Act expressly provides

that eligibility is limited to DMAs with no more than 95,000 TV


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households.”   Order ¶ 38.    As the Commission explained, Congress

recognized that affording low power stations Class A status comes at a

price—potential interference with full power stations—and thus adopted

a “balanced approach” by restricting eligibility to smaller markets. Id.

     As an alternative to using Nielsen’s Designated Market Areas, RCC

asked the Commission to “allow all [Low Power Television] stations

whose ‘Section 307(b) community of license has fewer than 95,000 TV

households” to convert to Class A status.      RCC Comments 6.          The

Commission rejected RCC’s proposal because it would not be “‘equivalent’

to the system established by Nielsen, which defines larger geographic

regions than community of license”—and would thus contravene the

statute’s plain command to use Nielsen Designated Market Areas or an

“equivalent” system. Order ¶ 40 & n.187 (quoting LPPA § 1(a)(2)).

     The Commission likewise rejected RCC’s arguments that relying on

Nielsen data violated the Constitution “[]by improperly delegating

legislative power to private industry.”    RCC Comments 4.          As the

Commission explained, using privately collected data “for a particular

purpose specified in the statute” does not reflect an impermissible

delegation of legislative authority. Order n.186.




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     Similarly, the Commission declined to read the Low Power

Protection Act as “prohibit[ing] the Commission from displacing any

[Low Power Television] licensee, regardless of whether the license

contains a Class A designation, for the purpose of selling that [Low Power

Television] spectrum at auction.” RCC Comments 17. The Low Power

Protection Act “is silent,” the Commission explained, “with respect to the

issue of auctioning broadcast spectrum, and there is no evidence that

Congress intended [the agency to] consider this issue” in implementing

the statute. Order n.186.

     Finally, the Commission declined RCC’s request that it amend its

rules to give Class A stations the same “must carry” status as full power

stations.    Order ¶¶ 52-53; RCC Comments 15-16.                  Under the

Commission’s must carry rules, certain local broadcast television stations

have a right to demand that cable providers carry their channel to local

customers.   See 47 C.F.R. § 76.55.      But low power stations are not

afforded the same must carry privileges as full power stations. Id. The

Commission concluded that Congress did not intend to alter this scheme

through the creation of Class A licenses. Order ¶¶ 52-53. Consistent

with a previous order denying full must carry status to Class A stations,

the Commission reasoned that neither the Community Broadcasters


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Protection Act, the Low Power Protection Act, nor their accompanying

legislative histories make any mention of must carry rights and, given

this silence, Congress did not intend to expand those rights along with

the grant of Class A licenses. Id. (citing In Re Establishment of a Class A

Television Service, 16 FCC Rcd 8244, 8259-60 ¶¶ 39-43 (2001)).

     B.    RCC’s Request For Judicial Review

     On January 10, 2024, RCC petitioned this Court for review of the

Commission’s order. See ECF No. 2036140. It filed its emergency motion

on January 23, 2024. See ECF No. 2037054.

                               ARGUMENT

     RCC’s motion lays out a dizzying array of statutory, constitutional,

and economic theories that underly its various disagreements with the

Commission’s implementation of the Low Power Protection Act. But the

defects in RCC’s motion are simple. It is not entitled to a stay because it

never sought one from the Commission. Its merits arguments fail largely

because they do not account for the plain text of the statute. And at every

turn, RCC falls short of the demanding standards necessary for

extraordinary relief.




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I.      RCC IS NOT ENTITLED TO A STAY
        This Court should not stay the Commission’s order because RCC

has not asked the Commission to do so, nor has it explained that failure

to do so.

        This Court’s longstanding practice is unequivocal: “Application for

a stay or any other appropriate emergency relief must first be made to

the district court or agency whose order is being appealed, or the motion

filed in this Court must explain why such relief was not sought.” D.C.

CIRCUIT HANDBOOK OF PRACTICE AND INTERNAL PROCEDURES 32 (2021)

(emphasis added). See Fed. R. App. P. 18 (a)(1). RCC has filed no such

request with the Commission and its motion makes no attempt to explain

that failure. See Motion at 9-10. That is reason enough alone to deny the

stay.

        To the extent that RCC’s reference to “interim relief” (Motion at 10)

might suggest that the Commission denied RCC a stay, that notion is

mistaken. RCC cites to its argument in comments before the Commission

that the Low Power Protection Act should “be read as freezing, as of the

time the [Low Power Protection Act] was enacted, the ability of full-power

TV stations to file applications to displace [Low Power Television]

stations interested in asserting [Low Power Protection Act] rights.” RCC


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Reply Comments at 9 (Attach. 4 to Motion). That statutory construction

argument was not a stay request—indeed, it preceded the Commission’s

order.    And RCC’s post-hoc characterization that its preferred

interpretation of the statute would protect it “from displacement during

the pendency of this litigation” (Motion at 10), cannot retroactively

transform a commenter’s statutory argument into a stay request

required by the Federal Rules.

      Nothing else in RCC’s emergency motion justifies a stay. Even if

RCC had exhausted its administrative remedies, it would need to show

that (1) it is likely to prevail on the merits, (2) it will suffer irreparable

harm unless a stay is granted, (3) other parties will not be harmed if a

stay is granted, and (4) a stay will serve the public interest. Nken v.

Holder, 556 U.S. 418, 434 (2009).

      RCC fails to satisfy that demanding standard. As discussed below,

RCC is highly unlikely to prevail on the merits. See infra Section II. That

alone is “an arguably fatal flaw” that should preclude a grant of RCC’s

stay request. Citizens for Resp. and Ethics in Washington v. FEC, 904

F.3d 1014, 1019 (D.C. Cir. 2018).

      RCC’s assertion (Motion at 11) that it will suffer irreparable harm

is highly speculative, not “certain and great,” as this Court requires. See


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Mexichem Specialty Resins, Inc. v. E.P.A., 787 F.3d 544, 555 (D.C. Cir.

2015). The one-year window to apply for a Class A license under the Low

Power Protection Act has not yet opened, and even if it had, nothing in

the Commission’s Order would prevent RCC from seeking the

Commission’s permission to file a provisional application if this litigation

remained pending. RCC, which does not currently hold a Class A license,

does not explain how declining to stay the order would damage its

“revenue, viewers, and viewer relationships.” Motion at 11. Meanwhile,

staying the order would burden those low power stations that are eligible

to apply for Class A licenses by delaying their ability to do so.

      Because none of the relevant factors support RCC’s stay request, it

should be denied.

II.   SUMMARY REVERSAL IS UNWARRANTED
      RCC’s emergency motion also does not meet this Court’s demanding

standard for summary disposition. “Summary reversal is rarely granted

and is appropriate only where the merits are ‘so clear, plenary briefing,

oral argument, and the traditional collegiality of the decisional process

would not affect [the Court’s] decision.’” D.C. CIRCUIT HANDBOOK OF

PRACTICE AND INTERNAL PROCEDURES 36 (2021) (quoting Sills v. Fed.




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Bureau of Prisons, 761 F.2d 792, 793-94 (D.C. Cir. 1985)). The merits of

this case are extraordinarily clear, but not in RCC’s favor.

      At bottom, RCC objects that its licensee station is ineligible to apply

for Class A status under the Commission’s interpretation of the Low

Power Protection Act because it does not fall within a Designated Market

Area with not more than 95,000 television households as defined by

Nielsen’s Local TV Report. See Motion at 31 (“RCC cannot file a Class A

upgrade application per the terms of FCC 23-112”); RCC Comments at 7

(RCC’s licensee station is in a Nielsen Designated Market Area with

963,950 television households).      But the Low Power Protection Act

requires the Commission to use Nielsen’s system or an equivalent one.

RCC fails to grapple with the plain language of the statute and identifies

no other valid basis for setting aside the Commission’s order.

      A.   The Commission Correctly Interpreted The Low
           Power Protection Act To Require Use Of Nielsen
           Designated Market Areas

      It is well settled that where “Congress has directly spoken to the

precise question at issue,” and “the intent of Congress is clear, that is the

end of the matter,” and both the Court and the Commission “must give

effect to the unambiguously expressed intent of Congress.” Eagle Broad.




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Grp., Ltd. v. F.C.C., 563 F.3d 543, 550 (D.C. Cir. 2009) (internal quotation

marks omitted).

      Just so here. The Low Power Protection Act sets clear eligibility

criteria for low power stations to apply for Class A status.               “The

Commission may approve an application . . . if the low power TV station

submitting the application . . . satisfies” the listed requirements,

including that it “operates in a Designated Market Area with not more

than 95,000 television households.”         LPPA § 2(c)(2)(B).      The statute

defines “Designated Market Area” to mean “a Designated Market Area

determined by Nielsen Media Research” or “a system that the

Commission determines is equivalent to the system established by

Nielsen Media Research.” LPPA § 2(a)(2).

      In the challenged order, the Commission did nothing more than

faithfully follow these statutory commands. It correctly concluded that

Congress had instructed the Commission to define “Designated Market

Areas” by reference to Nielsen’s data or an equivalent system, evaluated

alternatives to determine whether they were “equivalent,” and, finding

no such equivalent option, applied Congress’s chosen definition to set

eligibility requirements for Class A licenses. Order ¶¶ 35-40. That

straightforward approach was plainly correct.


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      B.    RCC’s Contrary Arguments Are Mistaken

      RCC’s emergency motion advances a range of statutory and

constitutional   arguments      for     setting   aside     the       Commission’s

implementation of the Low Power Protection Act. But none is likely to

prevail, let alone is so clearly meritorious as to warrant summary

reversal.

            1.    RCC misreads the Low Power Protection Act

      RCC fundamentally misunderstands the Low Power Protection Act.

It argues that the “[t]he [Designated Market Area] definition at Section

(2)(a)(2) of the [Low Power Protection Act], does not contain any

limitation regarding size and plainly includes all [Designated Market

Areas] regardless of the number of [Designated Market Area] TV

households, thus mandating nationwide Class A licensing.” Motion at

21.   At the same time, it insists that the statute’s reference to “a

Designated Market Area with not more than 95,000 television

households” somehow “refers to the number of TV households served in

the qualifying [Low Power Television] station’s § 307(b) community of

license.” Motion at 22. In other words, RCC reads the statute to mean

that any low power station is entitled to a Class A license if it (1) operates




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in a Designated Market Area of any size, and (2) serves a community of

license of not more than 95,000 households. That reading is incorrect.

      To start, the fact that the statutory definition of “Designated

Market Area” does not contain a numerical limitation is entirely distinct

from the statute’s eligibility criteria, which (among other things)

expressly exclude stations that operated in a Designated Market Area

with more than 95,000 households at the time of enactment. See LPPA

§ 2(c)(2)(B).   In no event can the statutory definition of the term

“Designated Market Area” be read to “mandat[e] nationwide Class A

licensing” without respect to the eligibility criteria laid out elsewhere in

the statute.

      Nor does RCC explain how the phrase “a Designated Market Area

with not more than 95,000 television households” can be read to redirect

to a distinct concept—“community of license”—from a different statutory

provision—Section 307(b)—when the Low Power Protection Act and its

legislative history nowhere contains any mention of that concept or

statutory provision.

      That conclusion is confirmed by the plain text of the statute, as well

as common sense. The phrase “with not more than 95,000 television

households” modifies the immediately preceding phrase—“Designated


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Market Area”—and not the much earlier phrase, “the low power TV

station submitting the [application],” as RCC (Motion at 22) erroneously

suggests. Indeed, a “station” does not contain “television households,”

whereas a “Designated Market Area” does. And because every television

station in the lower 48 states falls within one of Nielsen’s Designated

Market Areas, RCC’s proposed interpretation—that Congress merely

meant to require an eligible station to fall within any Designated Market

Area—would render the Designated Market Area language largely

superfluous. That cannot be what Congress intended. See Amoco Prod.

Co. v. Watson, 410 F.3d 722, 733 (D.C. Cir. 2005) (“‘[I]f possible,’ [this

Court will] construe a statute so as to give effect to ‘every clause and

word.’”).     And if there were any ambiguity, the Commission’s

interpretation would be by far the most reasonable, and thus would be

entitled to deference. See Mozilla Corp. v. F.C.C., 940 F.3d 1, 19 (D.C.

Cir. 2019).

              2.   Statutory purpose cannot override the Low
                   Power Protection Act’s plain text

      Throughout its motion, RCC argues that the Commission’s

interpretation of the Low Power Protection Act fails to carry out the

statute’s general “purpose of protecting [Low Power Television] licenses.”



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See, e.g., Motion at 15, 17. But the language of the statute belies RCC’s

contention that Congress’s purpose was to guarantee limitless protection

to all low power stations. To the contrary, as the Commission explained,

Order ¶ 38, Congress adopted a “balanced approach,” with the stated

purpose of “provid[ing] low power TV stations with a limited window of

opportunity to apply for” Class A licenses, subject to statutory

requirements. LPPA § 2(b). And even if “the text of [the] statute” had

“conflict[ed] with the statute’s larger purpose,” that “alone [would] not

warrant departing from the text.” Eagle Pharms., Inc. v. Azar, 952 F.3d

323, 334 (D.C. Cir. 2020);.

      For similar reasons, RCC’s criticism that the Commission’s

interpretation would render most low power stations ineligible for

Class A licenses is unavailing. See Motion at 13. The statute, by its

terms, makes clear that Congress intended to limit Class A licenses by

restricting eligibility to market areas with no more than 95,000 television

households. LPPA § 2(c)(2)(B). And RCC points to nothing in the statute

or legislative history that suggests Congress did not mean what it said

when it instructed the Commission to use Nielsen Designated Market

Areas or an equivalent system.




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           3.    RCC misinterprets Section 307(b) of the
                 Communications Act

      Section 307(b) of the Communications Act of 1934 is not to the

contrary. RCC argues that restricting eligibility for Class A licenses

under the Low Power Protection Act “reassigns [Low Power Television]

licenses from their very small § 307(b) communities of license to much

larger ‘non-qualifying DMAs’ to eliminate Class A licenses, completely

ignoring § 307(b)’s mandate to issue Class A licenses nationwide to

achieve a national goal.” Motion at 14. That argument conflates two

distinct statutory provisions.

      Section 307(b) states that “the Commission shall [distribute]

licenses, frequencies, hours of operation, and of power among the several

States and communities as to provide a fair, efficient, and equitable

distribution of radio service to each of the same.” 47 U.S.C. § 307(b).

That provision generally “empowers the Commission to allow licenses so

as to provide a fair distribution among communities,” F.C.C. v. Allentown

Broad. Corp., 349 U.S. 358, 362 (1955), by, for example, allotting

channels to different communities across the country. See 47 C.F.R.

§ 73.622. It does not address the treatment of low power stations, Class A

licenses, or “Designated Market Areas.”



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      The Low Power Protection Act’s use of “Designated Market Area”

to determine Class A eligibility is wholly unrelated to the concept of

communities of license under Section 307(b). See Order ¶ 40 & n.187.

Using Nielsen Designated Market Areas for determining Class A

eligibility “is consistent with the [Low Power Protection Act], relates only

to implementation of the [Low Power Protection Act], and does not affect

the communities [Low Power Television] stations are licensed to serve.”

Order n.187. RCC’s suggestions to the contrary are simply mistaken.

The Commission has not “reallocat[ed]” (Motion at 14) any low power

television licenses, de facto or otherwise, in the underlying order.

      Even if Section 307(b) could be read to conflict with the Low Power

Protection Act, RCC’s interpretation would be unavailing. It is a “basic

principle of statutory construction that a specific statute . . . controls over

a general provision.” Sierra Club v. Env’t Prot. Agency, 21 F.4th 815, 821

(D.C. Cir. 2021) (alterations in original; internal quotation marks

omitted).   Here, there can be no question that Congress’s precise

employment of “Designated Market Area” to determine Class A eligibility

in the Low Power Protection Act controls over the earlier-enacted general

instruction to equitably distribute broadcasting resources. Section 307(b)

is of no help to RCC at all.


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           4.    Nothing in the Low Power Protection Act
                 extends must carry rights

      RCC further objects (Motion at 27-30) to the Commission’s

reasonable conclusion, in the face of statutory silence, that Congress did

not intend to extend must carry rights to all Class A stations in the Low

Power Protection Act.     Order ¶ 53.       Here too, summary reversal is

unwarranted.

      Nothing in the statutory text or legislative history of the Low Power

Protection Act provides any indication that Congress intended to alter

the status quo with respect to must carry rights and Class A licenses.

Congress was presumably aware that the Commission had declined to

read such rights into the Community Broadcasters Protection Act, see 16

FCC Rcd at 8259-60 ¶¶ 39-43, and opted to take no further action.

      RCC identifies nothing to the contrary in the text or history of the

Low Power Protection Act. While the “[Low Power Protection Act] does

not contain any explicit limitation on Class A must-carry rights,” Motion

at 28, neither does it contain any explicit grant (or any other mention) of

must carry rights. Contrary to RCC’s contention (Motion at 27), the

statute’s use of the phrase “primary status” refers to spectrum priority,

not must carry rights. And the fact that the statute provides that Class



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A stations are “subject to the same license terms and renewal standards

as a license for a full power television broadcast station” does not help

RCC because must carry rights are not a “license term” or “renewal

standard.” Motion at 28 (quoting LPPA § 2(c)(3)(A)). The Commission’s

interpretation is, at very least, a reasonable one. See Glob. Crossing

Telecomms., Inc. v. F.C.C., 259 F.3d 740, 744 (D.C. Cir. 2001) (upholding

the Commission’s reasonable interpretation in the face of statutory

silence).

            5.   RCC’s constitutional objections lack merit

      In addition to its statutory arguments, RCC argues that the

challenged order violates the Constitution because it (1) impermissibly

regulates “local economic activity” beyond the reach of the Commerce

Clause, Motion at 17-18; (2) impermissibly subdelegates legislative

authority to Nielsen, a private party, Motion at 23-25; and (3) violates

the First Amendment, Motion at 25-27. These arguments are baseless.

      “The power of Congress over interstate commerce is not confined to

the regulation of commerce among the states,” and extends to any activity

with “a substantial effect on interstate commerce.” United States v.

Darby, 312 U.S. 100, 118-19 (1941). Congress’s power is not only “not

limited to regulation of an activity that by itself substantially affects


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interstate commerce, but also extends to activities that do so only when

aggregated with similar activities of others.” Sebelius, 567 U.S. at 549.

It has long been recognized that local television broadcasting

substantially affects interstate commerce. See, e.g., Allen B. Dumont

Labs. v. Carroll, 184 F.2d 153, 154 (3d Cir. 1950) (“There is no doubt but

that television broadcasting is in interstate commerce.”).1 Indeed, for its

part RCC repeatedly complains that the Commission’s implementation

of the Low Power Protection Act will affect its ability to compete against

national broadcasters.     E.g., Motion at 13.      Congress has ample

constitutional authority to regulate in this area, including setting

eligibility requirements for broadcast licenses.

      RCC’s private non-delegation argument likewise falls flat. This

Court has long recognized that “a federal agency may use an outside

entity, such as a state agency or a private contractor, to provide the

agency with factual information.” U.S. Telecom Ass’n v. F.C.C., 359 F.3d

554, 567 (D.C. Cir. 2004). The challenged order does no more than that—




1 See also Fed. Radio Comm’n v. Nelson Bros. Bond & Mortg. Co., 289

    U.S. 266, 279 (1933) (“No state lines divide the radio waves, and
    national regulation is not only appropriate but essential to the
    efficient use of radio facilities.”).


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relying on Nielsen “to provide the agency with factual information,” and

even then at Congress’s express instruction. Id. This case bears no

resemblance to the “sweeping delegation of legislative power” (Motion at

24-25) at issue in A.L.A. Schechter Poultry Corp. v. United States, 295

U.S. 495, 539 (1935). The Commission thus correctly concluded that

“us[ing] an outside entity’s market definition for a particular purpose

specified in the statute” violates no constitutional principle. Order n.186.

      The Commission’s order also does not violate the First Amendment.

The Low Power Protection Act requires that eligible stations have carried

a certain amount of “locally produced programming” in the 90 days

preceding the statute’s effective date. LPPA § 2(c)(2)(B)(i)(I); see Order

¶¶ 18-20. The Commission defined “locally produced programming” by

reference to Section 73.6000 of the Commission’s rules, 47 C.F.R.

§ 73.6000, just as it did for stations that converted to Class A status

under the Community Broadcasters Protection Act, Order ¶ 19. Thus, a

low power television station seeking to upgrade to Class A status under

the Low Power Protection Act “must have broadcast an average of at least

3 hours per week of programming that was produced within the market

area served by such station, or the market area served by a group of

commonly controlled [low power television] stations that carry common


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local programming produced within the market area served by such

group.” Id. ¶ 18.

      RCC contends that this requirement “violates the First Amendment

by restricting a Class A applicant’s program content and editorial

choices.” Motion at 25. Not so. “Government regulation of expressive

activity is content neutral so long as it is justified without reference to

the content of the regulated speech.” Ward v. Rock Against Racism, 491

U.S. 781, 791 (1989). And content neutral regulation is permissible so

long as “it advances important governmental interests unrelated to the

suppression of free speech and does not burden substantially more speech

than necessary to further those interests.” BellSouth Corp. v. F.C.C., 144

F.3d 58, 69-70 (D.C. Cir. 1998).            Here, the local programming

requirement does not regulate the content of any “viewpoint” or “editorial

choices,” Motion at 25, but merely specifies the location from which the

programming must have originated for a limited time. That relatively

minor burden is amply justified by the government’s interest in ensuring

that local stations serve local audiences.

      RCC additionally contends (Motion at 26) that the order “violates

the First Amendment by unevenly applying the program importation

restriction” to allow commonly controlled low power television stations to


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count programming as “local” so long as it is produced somewhere within

the market area served by the group of commonly owned stations. That

argument is foreclosed because neither RCC nor any other party raised

it before the Commission. See 47 U.S.C. § 405(a). In any event, for the

reasons already explained, a rule that merely specifies the location from

which programming must have originated is not an impermissible,

content-based restriction on speech.

           6.    The Commission adequately responded to RCC’s
                 comments

      Throughout     its   emergency   motion,   RCC    objects    that   the

Commission did not respond to every aspect of its comments before the

agency. E.g., Motion at 11, 16. But the Commission did not “fail[] to

respond to RCC’s arguments” or relegate its response to “terse and

insubstantial” analysis.     Motion at 11-12.      To the contrary, the

Commission adequately explained why it was rejecting the majority of

RCC’s arguments, mentioning RCC nearly 30 times in its order.

      In any event, “[t]he FCC ‘need not address every comment,’” and

must only “respond in a reasoned manner to those that raise significant

problems.” Covad Commc’ns Co. v. F.C.C., 450 F.3d 528, 550 (D.C. Cir.

2006) (internal quotation marks omitted). Any “failure to respond to



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comments is significant only insofar as it demonstrates that the agency’s

decision was not based on a consideration of the relevant factors.”

Thompson v. Clark, 741 F.2d 401, 409 (D.C. Cir. 1984) (internal quotation

marks and citation omitted).      Here, there is no indication that the

Commission failed to consider the relevant factors in implementing the

Low Power Protection Act.

      Because the merits of this case are not clearly in its favor—indeed,

they heavily favor the Commission2—RCC fails to carry its “heavy

burden” to justify summary reversal. Sills, 761 F.2d at 793.

III. THIS CASE DOES NOT WARRANT EXPEDITED REVIEW
      RCC also fails to meet the demanding standard for expedited

review. This Court “grants expedited consideration very rarely.” D.C.

CIRCUIT HANDBOOK OF PRACTICE AND INTERNAL PROCEDURES 34 (2021).

“The movant must demonstrate that the delay will cause irreparable

injury and that the decision under review is subject to substantial


2 Should it deem the respective positions of the parties sufficiently clear,

    the Court may summarily deny RCC’s petition for review. See, e.g.,
    Grant v. United States Dep’t of Def., No. 18-5308, 2019 WL 668086, at
    *1 (D.C. Cir. Jan. 25, 2019) (summarily affirming the challenged
    decision, on the court’s own motion, where “a motion for summary
    reversal placed the merits of the appeal before the court, and the
    merits of the parties’ positions [were] so clear as to warrant summary
    action”).


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challenge.” Id. For all the reasons explained above, supra Sections I &

II, RCC here fails to establish that it will be irreparably injured by review

in the ordinary course, or that its merits arguments amount to a

“substantial” challenge to the underlying order. Expedited review is not

warranted.

                              CONCLUSION

      The emergency motion for stay, expedited review, and summary

reversal should be denied.


Dated: February 26, 2024              Respectfully submitted,

                                      /s/ Adam L. Sorensen

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